        Case 1:23-cr-00490-SHS                Document 39      Filed 10/02/23       Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

UNITED STATES OF AMERICA,                                 23-Cr-490 (SHS)

                 -v-                                      ORDER

ROBERT MENENDEZ, NADINE
MENENDEZ, W AEL HANA, JOSE
URIBE, and FRED DAIBES,

                          Defendants.

------------------------------------------------------x
SIDNEY H. STEIN, U.S. District Judge.

        The initial pretrial conference having been held today, with counsel for all parties
present, and all defendants present except Robert Menendez, whose presence was excused by the
Court,

        IT IS HEREBY ORDERED that:

         1.      The last day for the government to produce discovery is December 4, 2023;

        2.      Any defense motions shall be filed by January 8, 2023, the government's response
shall be filed by January 29, 2024, and any reply is due by February 5, 2024;

        3.       The trial of this action will commence on Monday, May 6, 2024, at 9:30 a.m.; and

        4.       The time is excluded from calculation under the Speedy Trial Act from today until May
6, 2024. The Court finds that the ends of justice served by this continuance outweigh the best interests of
the public and the defendants in a speedy trial pursuant to 18 U.S.C. § 3161(h)(7)(A).



Dated: New York, New York
       October 2, 2023

                                                          SO ORDERED:



                                                             /4 j!Jl;
